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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.: 0:21-cv-61973-KMW


   Victor Crawford,

          Plaintiff,

   v.

   Experian Information Solutions, Inc.,
   Equifax Information Services, LLC, ,and
   Trans Union, LLC

         Defendants.
   ____________________________________/

               DEFENDANT EXPERIAN INFORMATION SOLUTIONS INC.’S
                NOTICE OF APPEARANCE AND REQUEST FOR NOTICES

         PLEASE TAKE NOTICE that Mackenzie J. Guardazzi of the law firm of Jones Day

  hereby gives notice of appearance in this case on behalf of Defendant, Experian Information

  Solutions, Inc., and requests service of all notices, pleadings, and other papers filed or served in

  this case as required by the Federal Rules of Civil Procedure or by order of the Court.


  Dated: October 1, 2021                        Respectfully submitted,

                                                /s/ Mackenzie J. Guardazzi
                                                Mackenzie J. Guardazzi
                                                Florida Bar No. 1026564
                                                JONES DAY
                                                600 Brickell Avenue, Suite 3300
                                                Miami, FL 33131
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                                                Attorney for Defendant
                                                Experian Information Solutions, Inc.
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on October 1, 2021, I electronically filed a true and correct copy

  of the foregoing document with the Clerk of the Court by using the CM/ECF system, which will

  send notice of electronic filing to all parties at the email addresses on file with the Clerk of Court.


                                                 /s/ Mackenzie J. Guardazzi
                                                 Mackenzie J. Guardazzi

                                                 Attorney for Defendant
                                                 Experian Information Solutions, Inc.




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